         Case 1:08-cv-00900-HHK Document 144 Filed 08/03/10 Page 1 of 1



                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


  ROBERT CARROLL

          and

  MONICA CARROLL,
               Plaintiffs,
                                                                Civil Action 08-00900 (HHK)
                       v.

  FREMONT INVESTMENT & LOAN, et.
  al,

                            Defendants.



                                            JUDGMENT

        Pursuant to Fed. R. Civ. P. 58 and on the basis of the representations of the parties who

filed status reports in this case, it is this 3rd day of August 2010, hereby

        ORDERED and ADJUDGED that this case is DISMISSED.


                                                                Henry H. Kennedy, Jr.
                                                                United States District Judge
